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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

EMMANUEL SOTO-MONTES,                          )
                                               )
                    Plaintiff,                 )
                                               )
v.                                             )      Case No. 16-3052-JAR-GEB
                                               )
CORIZON HEALTH, INC., et al.,                  )
                                               )
                    Defendants.                )
                                               )

       ORDER FOR PAYMENT OF COMPENSATION FOR MEMBERS OF
        MEDICAL and NURSING MALPRACTICE SCREENING PANELS

      Pursuant to K.S.A. §§ 65-4901 et seq., and Kansas Supreme Court Rule 142, the

Court convened two medical malpractice screening panels—a nurse panel and a physician

panel—to evaluate the medical malpractice claims asserted by Plaintiff against Defendants

Travis Nickelson, APRN and Deanna Morris, LPN, and against Baseer A. Sayed, M.D. and

Gordon Harrod, MD. (See Orders, ECF Nos. 53, 62, 72.) On May 21, 2020, both screening

panels filed their respective findings. (Findings of Nurse Screening Panel, ECF No. 96;

Findings of Physician Screening Panel, ECF No. 97.)

      The nurse panel found unanimously that the standard of care was met by both

Nickelson and Morris on 4 of 5 contentions submitted by Plaintiff. On one contention—

whether Nickelson was negligent for failing to ensure an IVP was performed after the

complaint of kidney pain—two panel members found the standard of care was met, but one

panel member found a deviation in the standard. (Findings, ECF No. 96 at 4.)

      The physician panel found unanimously that the standard of care was met by both

Drs. Harrod and Sayeed on 7 of 8 contentions by Plaintiff. On one contention—whether the
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physicians made a Spanish interpreter available to assist in Plaintiff’s care—three panel

members found the standard of care was met by both Drs. Harrod and Sayeed. One panel

member found the standard of care was not met. (Findings, ECF No. 97 at 2-3.)

        K.S.A. § 65-4907(a) provides for compensation of the health care provider members

of the screening panel and for the attorney chairperson, along with payment of their

expenses. The statute specifically provides:

        Each health care provider member of the screening panel shall be paid a total
        of $500 for all work performed as a member of the panel exclusive of time
        involved if called as a witness to testify in court, and in addition thereto,
        reasonable travel expense. The chairperson of the panel shall be paid a total of
        $750 for all work performed as a member of the panel exclusive of time
        involved if called as a witness to testify in court, and in addition thereto
        reasonable travel expenses. . . .

        K.S.A. § 65-4907(b) further designates who shall pay the compensation and expenses

of the panel: “Costs of the panel including travel expenses and other expenses of the review

shall be paid by the side in whose favor the majority opinion is written.” Because the

majority findings by each panel are each written in favor of Defendants, the Court finds they

should pay the compensation and expenses of the screening panels, pursuant to K.S.A. § 65-

4907.

        The Court finds that each of the four physician panel members, Bryon McNeil, M.D.,

Curt Meinecke, M.D., Drew Schultz, D.O., and Tracy Ramsey, M.D., is entitled to the

statutory fee of $500. The Court also finds that each of the three nurse panel members, Jane

McGuire, RN, Steve Scott, RN, and Beth Alford, RN, is entitled to the statutory fee of $500.

The Court further finds that the chairperson of the screening panel, John H. Gibson, is

entitled to the statutory fee of $750.


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      Upon review of Mr. Gibson’s expense report submitted to the undersigned, the Court

finds the members of the panels did not incur travel expenses. However, Mr. Gibson did

incur both photocopying expenses and telephone conference expenses as a direct result of

his appointment as chair of two panels. Therefore, the Court approves Mr. Gibson’s invoice

(attached) in the amount of $2,152.46. This amount should be shared equally between the

Defendants (i.e., ½ paid by the physician Defendants and ½ paid by the nurse Defendants).

If any Defendants has challenges to these expenses, counsel must first fully confer with one

another and Mr. Gibson, then contact the chambers of the undersigned at

ksd_Birzer_chambers@ksd.uscourts.com no later than June 17, 2020 to arrange a telephone

conference to discuss the same.

      IT IS THEREFORE ORDERED that within thirty (30) days of the date of this

Order, Defendants Travis Nickelson, APRN and Deanna Morris, LPN shall pay to each

member of the nurse screening panel the statutory compensation and to Mr. Gibson the

expenses, as above designated.

      IT IS FURTHER ORDERED that within thirty (30) days of the date of this

Order, Defendants Baseer A. Sayed, M.D. and Gordon Harrod, M.D. shall pay to each

member of the physician screening panel the statutory compensation and to Mr. Gibson the

expenses, as above designated.

      IT IS FURTHER ORDERED that both the physician and nurse Defendants shall

file with the Court receipts or affidavits to show that such payments have been made.




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IT IS SO ORDERED.

Dated at Wichita, Kansas this 4th day of June, 2020.



                                  s/ Gwynne E. Birzer
                                  GWYNNE E. BIRZER
                                  United States Magistrate Judge




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